      Case 8-17-73796-reg             Doc 17      Filed 10/25/18   Entered 10/26/18 11:46:19




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:
                                                                   Index No. 17-73796 (REG)
 MICHAEL J. SWEEENEY, JR.,
                                                                   Chapter 7
                                     Debtor.
 -------------------------------------------------------------X

                               ORDER AVOIDING JUDICIAL LIENS

        UPON the motion (the “Motion”) of Michael J. Sweeney, Jr. (the “Debtor”), the above-

referenced debtor, by and through his counsel, Macco & Stern, LLP, for an order avoiding judicial

liens against the Debtor’s interest in the real property located at, and known as, 114 Kings Drive,

Riverhead, NY 11901 (the “Real Property”); and (iii) closing the Debtor’s bankruptcy case; and

notice of the Motion being good and sufficient, and no further notice being necessary nor required;

and no objections to the Motion having been filed or received; and after due deliberation and

sufficient cause appearing therefore, it is hereby:

        ORDERED, that the Motion is granted; and it is further

        ORDERED, that the following judicial liens are vacated, expunged, and avoided as a lien

of record against the Real Property:

        1.       Discover Bank, recorded with the Suffolk County Clerk on April 27, 2015, in the

                 amount of $9,991.14

        ORDERED, that the Suffolk County Clerk shall be directed to index and record a certified

copy of this Order as an instrument vacating, expunging, and avoiding the aforementioned judicial

liens as liens against the Debtor’s real property located at, and known as, 114 Kings Drive,

Riverhead, NY 11901; and it is further
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       ORDERED, that the Clerk of the Bankruptcy Court is directed to re-close this

bankruptcy case upon the expiration of 14 days from entry of this Order.



SO ORDERED:




                                                             ____________________________
 Dated: Central Islip, New York                                   Robert E. Grossman
        October 25, 2018                                     United States Bankruptcy Judge
